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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

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UNITED STATES OF AMERICA : CRIMINAL NO. 21-cr-32-DLF
Vv. : VIOLATIONS:
GUY WESLEY REFFITT, : 18 U.S.C. § 231(a)(2)
: (Civil Disorder)
Defendant.

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official Proceeding and
Aiding and Abetting)

 

18 U.S.C. § 1752(a)(D) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 231(a)(3)
(Civil Disorder)

a

18 U.S.C. § 1512(a)(2)(C)

(Obstruction of Justice - Hindering
Communication Through Physical Force
or Threat of Physical Force)

a

SECOND SUPERSEDING INDICTMENT

The Grand Jury charges that:

COUNT ONE

Between on or about January 4, 2021, and January 6, 2021, within the District of Columbia
and elsewhere, GUY WESLEY REFFITT transported in commerce a firearm, that is, a rifle and
a semi-automatic handgun, knowing and having reason to know and intending that the firearm will
} be used unlawfully in furtherance of a civil disorder.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(2))

 

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COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, GUY
WESLEY REFFITT attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, GUY WESLEY REFFITT
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President and Vice President-elect were temporarily visiting, without lawful authority to do so,
and, during and in relation to the offense, did use and carry a deadly and dangerous weapon and
firearm, that is, a semi-automatic handgun.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))
COUNT FOUR

On or about January 6, 2021, within the District of Columbia, GUY WESLEY REFFITT
committed and attempted to commit an act to obstruct, impede, and interfere with A.D. and S.K.,
officers from the United States Capitol Police, lawfully engaged in the lawful performance of their
official duties, incident to and during the commission of a civil disorder which in any way and
degree obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
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COUNT FIVE
On or about January 11, 2021, within the District of Columbia and elsewhere, GUY
WESLEY REFFITT attempted to, and did, use physical force and the threat of physical force
against J.R. and P.R. with intent to hinder, delay, and prevent the communication to a law
enforcement officer and judge of the United States of information relating to the commission and

possible commission of a Federal offense.

(Obstruction of Justice — Hindering Communication Through Physical Force or
Threat of Physical Force, in violation Title 18, United States Code, Section

1512(a)(2)(C))

A TRUE BILL:
FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
